                   Case 8:16-cv-00018-GJH Document 1-2 Filed 01/05/16 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                           for the




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                                                             )
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_5_' a_.~_y_~
                          -~laintiff(s)                      )
                                                              )
                                v.
                                                             )       Civil Action No.     GJH 16 CV 0 0 t A
                                                             )
                                                             )
                                                              )
J) r.    Be.~f" he-v-<{              eA-t>-I,                 )
                           Defendant(s)                      )

                                                SUMMONS   IN A CIVIL ACTION

To:   (Defendant's name and address)




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency. or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiffan answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney.
whose name and address are:




        If you fail to respond, judgment by default will be entered against you for the relief demanded            in the complaint.
You also must file your answer or motion with the court.



                                                                        CLERK OF COURT



Date:
                                                                                   SigllClfllre   f?lClerk or OeplilY Clerk
                     Case 8:16-cv-00018-GJH Document 1-2 Filed 01/05/16 Page 2 of 2
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 Civil Action No.

                                                                  PROOF OF SERVICE
                         (This section shollid not be filed with the COllrt IInles.< reqllired by Fed. R. Ci". P. 4 (I))


           This summons for         (name   0/ individual   and title.   if any)
 was received by me on          (dale)



           o    I personally served the summons on the individual at Ip/ac<l
                                                                                            on   fdale)                                  : or

           o    I left the summons at the individual's              residence or usual place of abode with                 (IUlme)


                                                                            . a person of suitable age and discretion who resides there.
          ------------------
           on   (dole)                               •   and mailed a copy to the individual's             last known address: or

           o    I served the summons on (name of indidduo/)                                                                                        . who is
            designated by law to accept service of process on behal f of (name of orgullblfiow
                                                                                            on   (dalt')                                 : or

           o    I returned the summons         unexecuted        because                                                                               ~or

           o    Other (specify):




           My fees are $                             for travel and $                             for services. for a total of $                0.00


           I declare under penalty of perjury that this information                  is true.



 Date:
                                                                                                           S('/Ter.s   signar/ll't'




                                                                                                       Primed     IW/1/1! lind   (ir/"




Additional      information     regarding attempted service. etc:
